AO 98 (Rev. 12/11} Appearance Bond

 

 

UNITED STATES DISTRICT COURT
for the
Southern District of New York

 

 

United States of America )
Vv. )
) Case No.
__ BRUCE BAGLEY ) 19 CR 765 (JSR)

Defendant )

APPEARANCE BOND

Defendant’s Agreement

I, BRUCE BAGLEY (defendant), agree to follow every order of this court, or any

 

court that considers this case, and I further agree that this bond may be forfeited if { fail:
( XX] ) to appear for court proceedings;
( &< ) if convicted, to surrender to serve a sentence that the court may impose; or
( EX] } to comply with all conditions set forth in the Order Setting Conditions of Release.

Type of Bond
(Bd) (1) This is a personal recognizance bond.

(1) (2) This is an unsecured bond of $ _ 300,000.00 PRB

 

(C1) G) This is a secured bond of $ , secured by:

 

(Hy @s . , in cash deposited with the court.

(C1) (b) the agreement of the defendant and each surety to forfeit the following cash or other property
(describe the cash or other property, including claims on tt ~ such as a lien, morgage, or loan — and attach proof of
ownership and value):

 

 

If this bond is secured by real property, documents to protect the secured interest may be filed of record. —

( LJ } (c) a bail bond with a solvent surety (attach a copy of the bail bond, or describe if and identify the surety):

 

 

 

Forfeiture or Release of the Bond

. Forfeiture of the Bond. This appearance bond may be forfeited if the defendant does not comply with the above
agreement. The court may immediately order the amount of the bond surrendered to the United States, including the
security for the bond, if the defendant does not comply with the agreement. At the request of the United States, the court
may order a judgment of forfeiture against the defendant and each surety for the entire amount of the bond, including
interest and costs.

 
Page 2

* AO 98 (Rev. 12/11) Appearance Bond

 

Release of the Bond. The court may order this appearance bond ended at any time. This bond will be satisfied and the
security will be released when either: (1) the defendant is found not guilty on all charges, or (2) the defendant reports to
serve a sentence.

Declarations

Ownership of the Property. 1, the defendant — and each surety -- declare under penalty of perjury that:

(1) all owners of the property securing this appearance bond are included on the bond,

(2) the property is not subject to claims, except as described above; and

(3) I will not sell the property, allow further claims to be made against it, or do anything to reduce its value
while this appearance bond is in effect.

Acceptance. I, the defendant — and each surety — have read this appearance bond and have either read all the conditions of
release set by the court or had them explained to me. | agree to this Appearance Bond.

I, the defendant — and each surety — declare under penalty of perjury that this information is true. (See 28 U.S.C.§ 1746.)

ea f Pe p
Date: 11/25/2019 AAA, 2.8 oe OR Shee
Defendant's signature BRUCE BAGLEY

 

 

 

 

Surety/property owner — Surety/property owner —
Surehyproperty owner — Surety/property owner —
Surety/property owner — Surefy/property owner —

CLERK OF | COURT

f % lL of

  

 

 

 

Date: 11/25/19 PE RA Oe
- Signature of Clerk dr Deputy Clerk

Approved.
c a
Date: 11/25/2019 nd ?
AUSA’s Signature SCHEBSWETT
Bz
_ AO 199A (Rev. 12/11) Order Setting Conditions of Release Pagelof  —ss«éPages

 

UNITED STATES DISTRICT COURT

for the
Southern District of New York

United States of America

 

y. )
) Case No.
) 19 CR 765
BRUCE BAGLEY )
Defendant )

ORDER SETTING CONDITIONS OF RELEASE
IT IS ORDERED that the defendant’s release is subject to these conditions:
(1) The defendant must not violate federal, state, or local law while on release.
(2) The defendant must cooperate in the coliection of a DNA sample if it is authorized by 42 U.S.C. § 14135a.

(3) The defendant must advise the court or the pretrial services office or supervising officer in writing before making
any change of residence or telephone number.

(4) The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
the court may impose.

The defendant must appear at:

 

oo Phew

on

 

Date and Time

if blank, defendant will be notified of next appearance.

(5) The defendant must sign an Appearance Bond, if ordered.

 

 
AO 199B (Rev. 12/11) Additional Conditions of Release Page of —_s Pages
ADDITIONAL CONDITIONS OF RELEASE

IT IS FURTHER ORDERED that the defendant’s release is subject to the conditions marked below:

(1) (6) The defendant is placed in the custody of:
Person or organization

 

Address fonly ifabove is an organization)

City and state —_ Tel. No. a
who agrees to (a) supervise the defendant, (b) use every effort to assure the defendant’s appearance at all court proceedings, and (c) notify the court
immediately if the defendant violates a condition of release or is no Jonger in the custodian’s custody.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Signed: cou ;
Custodian Date
(62) (7) The defendant must:
( & ) @) submit to supervision by and report for supervision to the PSA AS DIRECTED oo ;
telephone number »Molaterthan oo
( BY ) (b) continue or actively seek employment.
( (1 ) (c) continue or start an education program.
( } (d) surrender any passport to: PRETRIAL SERVICES AS DIRECTED BY PRETRIAL SERVICES _
( &] ) (e) not obtain a passport or other international travel document. , - ,
( EX ) ¢f) abide by the following restrictions on personal association, residence, or travel: SOUTHERN AND EASTERN DISTRICTS OF
NEW YORK AND SOUTHERN DISTRICT OF FLORIDA (AS NECESSARY FOR COURT APPEARANCES AND MEET
WITH COUNSEL) ee .
(£1 3 (g)} avoid all contact, directly or indirectly, with any person who is or may be a victim or witness in the investigation or prosecution,
including:
(1 ) ¢b) get medical or psychiatric treatment:
(1) @) return to custody each at ____ o’¢lock after being released at ee o’clock for employment, schooling,

or the following purposes:

 

 

) (Gj) maintain residence at a halfway house or community corrections center, as the pretrial services office or supervising officer considers
necessary.

) (k) not possess a firearm, destructive device, or other weapon.

) @) notuse alcohol ( [[] )atall( [] ) excessively.

) (m) not use or unlawfully possess a narcotic drug or other controlled substances defined in 21 U.S.C. § 802, unless prescribed by a licensed
medical practitioner.

) (n) submit to testing for a prohibited substance if required by the pretrial services office or supervising officer. Testing may be used with
random frequency and may include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any form of
prohibited substance screening or testing. The defendant must not obstruct, attempt to obstruct, or tamper with the efficiency and
accuracy of prohibited substance sercening or testing.

({] } (0) participate in a program of inpatient or outpatient substance abuse therapy and counseling if directed by the pretrial services office or

supervising officer,

( (1 ) (p) participate in one of the following location restriction programs and comply with its requirements as directed.

(L141) (i) Curfew. You are restricted to your residence every day ( ([] } from _ tf ,or ((] jas
directed by the pretrial services office or supervising officer; or

(C1) Gd Home Detention. You are restricted to your residence at all times except for employment; education; religious services;
medical, substance abuse, or mental health treatment; attorney visits; court appearances; court-ordered obligations; or other
activities approved in advance by the pretrial services office or supervising officer; or

(LJ) (iii) Home Incarceration. You are restricted (0 24-hour-a-day lock-down at your residence except for medical necessities and
court appearances or other activities specifically approved by the court.

( LJ } (q) submit to focation monitoring as directed by the pretrial services office or supervising officer and comply with all of the program

requirements and instructions provided.

(J) You must pay all or part of the cost of the program based on your ability to pay as determined by the pretrial services office or
supervising officer.

( L] } @) report as soon as possible, to the pretrial services office or supervising officer, every contact with law enforcement personnel, including
arrests, questioning, or traffic stops.

 
 

 

ADDITIONAL CONDITIONS OF RELEASE
( El) (s) $300,000 PRB, 2 FRP, TRAVEL RESTRICTED TO SDNY/EDNY/SD FLORIDA (AS NECESSARY FOR COURT
APPEARANCES AND MEET WITH COUNSEL), SURRENDER TRAVEL DOCUMENTS (& NO NEW
APPLICATIONS), PRETRIAL SUPERVISION AS DIRECTED BY PRETRIAL SERVICES, DRUG
TESTING/TREATMENT AS DIRECTED BY PTS, DEFT TO CONTINUE OR SEEK EMPLOYMENT, DEFT
TO BE RELEASED ON OWN SIGNATURE, CONTINUE TERMS FOR FLORIDA AND BOND AND
DOCUMENTATION PREVIOUSLY EXECUTED, NONE OF THE SIGNATOIRES MAY NOT SELL, PLEDGE,
MORTGAGE, HYPOTHECATE, ENCUMBER, ETC., ANY REAL PROPERTY THEY OWN UNTIL THE
BOND IS DISCHARGED, OR OTHERWISE MODIFIED BY THE COURT

 

 

 
AQ 199C (Rev. 09/08) Advice of Penalties Page Ci _ Pages

ADVICE OF PENALTIES AND SANCTIONS

 

TO THE DEFENDANT: BRUCE BAGLEY 19 CR 765 (JSR)
YOU ARE ADVISED GF THE FOLLOWING PENALTIES AND SANCTIONS:

Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in
imprisonment, a fine, or both.

While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten

years
and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be
consecutive (/.¢., in addition to) to any other sentence you receive,

It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation,
tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or
attempt to intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or
intimidation are significantly more serious if they involve a killing or attempted killing.

If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:

(1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more — you will be fined

not more than $250,000 or imprisoned for not more than 10 years, or both;

(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years — you will be fined not

more than $250,000 or imprisoned for not more than five years, or both;

(3) any other felony — you will be fined not more than $250,000 or imprisoned not more than two years, or both;

(4) a misdemeanor — you will be fined not more than $100,000 or imprisoned not more than one year, or both.

A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

Acknowledgment of the Defendant
I acknowledge that I am the defendant in this case and that | am aware of the conditions of release. 1 promise to obey all

conditions of release, to appear as directed, and surrender to serve any sentence imposed. 1 am aware of the penalties and sanctions
set forth above.

 

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2 A Ae OR EP a. x x oa

 

Defendant's Stenature BRUCE BAGLEY

A.
|

DEFENDANT RELEASED c )

 

City and State

Directions to the United States Marshal

( BX) The defendant is ORDERED released after processing.

( } The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the
defendant has posted bond and/or complied with all other conditions for release. If still in custody, the defendant must be
produced before the appropriate judge at the time and place specified,

 

 

Judicial Officer's Signature

 

 

AUSA’s Signature SCHEB SWETT

 
AQ 199C (Rev. 09/08} Advice of Penalties

Page OF Pages

 

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Eastern District of sew York

Erecklyn (Kings County)
Queens (Cueens Ccunty)
Staten Island (Richmend Ccunty)
Long bland (Nassau & Suffcik)

 
_ DOCKET No. “| -“c 2-165 Gs 2) perENDANT “Beste BAELEY

 

 

AUSA De WAGSR Sweats DEF.’S COUNSEL PETER Gaur tAws

SELRETAINED OI FEDERAL DEFENDERS Ocja O PRESENFMENT ONLY

 

0 INTERPRETER NEEDED
0 DEFENDANT WAIVES PRETRIAL REPO

  

ORuleS ORuie9 Rule 5(c\(3) O Detention Hrg. DATE OF ARREST il// e- gh fs.
TIME OF ARREST /ef Zi - ffit’és
& Other: TIME OF PRESENTMENT /'4' ¢!

OL. SURR.
© ON WRIT

   

 

 

 

BAIL DISPOSITION

 
  

( SEE SEP. ORDER
0 DETENTION ON CONSENT W/O PREJUDICE O DETENTION: RISK OF FLIGHT/DANGER O SEE TRANSCRIPT
0 METENTION HEARING SCHEDULED FOR:

 

 

 

AGREED CONDITIONS OF RELEASE
O DEF, RELEASED ON OWN 1 BECOGNIZANCE
$ 3,60 PRB ~*~ _FRP
0 SECURED BY $ CASH/PROPERTY: oe ~,
VEL RESTRICTED TO SDNY/EDNY/ Sb Gla Ces necertey Le cence aa ceares + ees a °)
OF

TEMPORARY ADDITIONAL TRAVEL UPON CONSENT OF AUSA & APPROVAL TRIAL SERVICES
NNDER TRAVEL DOCUMENTS (& NO NEW APPLICATIONS)

lk TRIAL SUPERVISION: CO REGULAR Oj STRICT AS DIRECTED BY PRETRIAL SERVICES
DRUG TESTING/TREATMT AS DIRECTED BY PTS O MENTAL HEALTH EVAL/TREATMT AS DIRECTED BY PTS
0 DEF. TO SUBMIT TO URINALYSIS; IF POSITIVE, ADD CONDITION OF DRUG TESTING/TREATMENT

OHOMEINCARCERATION COHOMEDETENTION OCURFEW ORLECTRONIC MONITORING O GPS
0 DEF. TO PAY ALL OF PART OF COST OF LOCATION MONITORING, AS DETERMINED BY PRETRIAL SERVICES

DEF. TO CONTINUE OR SEEK EMPLOYMENT [OR] 0 DEF. TO CONTINUE OR START EDUCATION PROGRAM
0 DEF, NOT TO POSSESS FIREARM/DESTRUCTIVE DEVICE/OTHER WEAPON

  
 

0 DEF. TO BE DETAINED UNTIL ALL CONDITIONS ARE MET
EF. TO BE RELEASED ON OWN SIGNATURE, PLUS THE FOLLOWING CONDITIONS:
; REMAINING CONDITIONS TO BE MET BY:

 

 

 

ADDITIONAL CONDITIONS/ADDITIONAL PROCEEDINGS/COMMENTS:

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~ CO Cann s+ ae

~ None ob! fe Si grdedes wea red ell, pledge, ments ge, eye eee,
ew Gu w bee ako, Cm ces) pre gee Wy Koay roeticat awh \ Yee Noas -a V5 a a ced per

avnew ibe ges OD bea ‘by ye Ca. LAY JL
DEF. ARRAIGNED; PLEADS NOT GUILTY CONFERENCE BEFORE D.J, ON ff /28 hs
CG DEF. WAIVES INDICTMENT .
O SPEEDY TRIAL TIME EXCLUDED UNDER 18 U.S.C. § 3161(h)(7) UNTIL / pir
For Rule 5(¢)(3} Cases:
0 IDENTITY HEARING WAIVED © DEFENDANT TO BE REMOVED

O) PRELIMINARY HEARING IN SDNY WAIVED O CONTROL DATE FOR REMOVAL:

 

PRELIMINARY HEARING DATE: CG ON DEFENDANT'S CONSENT
DATE: _¢// 2 Ms CLL
UNITED STATES MAGISTRATE JUDGE, S.D.N.Y.

WHITE (original) - COURT FILE PINK — U.S. ATTORNEY'S GFFICE YELLOW — U.S, MARSHAL GREEN ~ PRETRIAL SERVICES AGENCY
Rev'd 2016 IH -2

 
